  [NOT FOR PUBLICATION--NOT TO BE CITED AS PRECEDENT]
             United States Court of Appeals
                 For the First Circuit

No. 98-1386

                      ANINA RASTEN,

                  Plaintiff, Appellant,

                            v.

                U.S. DEPARTMENT OF LABOR,

                   Defendant, Appellee.

       APPEAL FROM THE UNITED STATES DISTRICT COURT

            FOR THE DISTRICT OF MASSACHUSETTS

     [Hon. Edward F. Harrington, U.S. District Judge]

                          Before

                 Selya, Stahl and Lynch,
                    Circuit Judges.

 Anina Rasten on brief pro se.

DECEMBER 22, 1998

                                           Per Curiam.  After carefully considering the
appellant's brief and the record on appeal, we affirm the
judgment of the district court.  The appellant's complaint did
not set forth sufficient facts to support an action in federal
court.  The district court had discretion under 28 U.S.C. 
1915(e)(2) to dismiss the suit without giving the appellant an
opportunity to amend the complaint.
          Affirmed.  Loc. R. 27.1.
